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IN THE UNITED STATES DISTRICT COURT

FoR THE soUTHERN DISTRICT oF IOWA JUN 3 0 2011

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SOUTHERN D|STRICT OF |0\52

UNITED STATES OF AMERICA,
NO. l:ll~Cr~OOOOZ-JEG-RAW
Plaintiff,

VS.

ERIC STEVEN BLEVINS,

~_/~_/VVV\/Vvv

Defendant.

REPoRT AND RECOMMENDATION CONCERNING PLEA oF GUILTY
(PLEA AGREEMENT)

The United States of America and the defendant, having
both filed a written consent to conduct of the plea proceedings by
a magistrate judge, appeared before me pursuant to Fed. R. Crim.
P. ll and LCrR ll. The defendant entered a plea of guilty to Count
l of an Indictment charging him with unlawful user of a controlled
substance in possession of a firearm and ammunition, in violation of
18 U.S.C. § 922(g)(3) and 924(a)(2). After advising and questioning
the defendant under oath concerning each of the subjects addressed
in Rule ll(b)(l), l determined that the guilty plea was in its
entirety voluntarily, knowingly and intelligently made and did not
result from force, threats, or promises (other than promises in the
plea agreement). I further determined that there is a factual basis
for' the guilty' plea on each. of the essential elements of the
offense(s) in question. A plea agreement was disclosed at the plea

proceeding and defendant stated he understood its terms and agreed

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to be bound by them. To the extent the plea agreement is of the
type specified in Rule ll(c)(l)(A) or (C) defendant was advised the
district judge to whom the case is assigned may accept the plea
agreement, reject it, or defer a decision whether to accept or
reject it until the judge has reviewed the presentence report as
provided by Rule ll(c)(3)(A). To the extent the plea agreement is
of the type specified in Rule ll(c)(l)(B) defendant was advised by
the Court that defendant has no right to withdraw the plea if the
Court does not follow a recommendation or request in question.

I recommend that the plea of guilty be accepted and that
the defendant be adjudged guilty and have sentence imposed
accordingly; A presentence report has been ordered and a sentencing

date set.

 

 

UNIT ATES MAGISTRATE JUDGE
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DATE '

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Failure by a party to file written objections to this
Report and Recommendation within fourteen (14) days from the date of
its service will result in waiver by that party of the right to make
objections to the Report and Recommendation. 28 U.S.C.
§ 636(b)(l)(B). The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.

